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                                     2021-68290




                                                   80th




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                                        CAUSE NO. 2021-68290

YEJI YUN                            §                            IN THE DISTRICT COURT OF
      Plaintiff                     §
                                    §
v.                                  §
                                    §                               HARRIS COUNTY, TEXAS
ESA P PORTFOLIO, LLC D/B/A EXTENDED §
STAY AMERICA HOUSTON AND EXTENDED §
STAY AMERICA, INC.                  §
      Defendants                    §                                 80th JUDICIAL DISTRICT

              NOTICE OF ATTORNEY CHANGE OF FIRM AFFILIATION

       Please take notice of the new firm affiliation of Bob Wynne, the undersigned counsel and

attorney in charge for Plaintiff Yeji Yun.

       Therefore, Plaintiff requests that the Court, the Clerk, and all counsel of record serve all

documents required to be served under Rule 21 and/or Rule 21a of the Texas Rules of Civil

Procedure on the undersigned counsel at the following addresses:

                                     THE WYNNE FIRM, P.C.
                                   3701 Kirby Drive, Suite 760
                                      Houston, Texas 77098
                                   service@justwynnelaw.com




                                                     Respectfully submitted,

                                                     THE WYNNE FIRM, P.C.

                                                     /s/ Bob Wynne
                                                     Bob Wynne
                                                     Texas Bar No. 24060861
                                                     3701 Kirby Drive, Suite 760
                                                     Houston, Texas 77098
                                                     Tel: 281-813-8959
                                                     service@justwynnelaw.com

                                                     Attorney for Plaintiff




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served on
all counsel of record pursuant to the Texas Rules of Civil Procedure on November 15, 2021:



                                                    /s/ Bob Wynne
                                                    Bob Wynne




                                                2
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                                                                                 Marilyn Burgess - District Clerk Harris County
                                                                                                      Envelope No. 59177199
                                                                                                                By: Iliana Perez
                                                                                                   Filed: 11/15/2021 4:16 PM

                           CAUSE NO. 2021-68290
YEJI YUN                            §                                  IN THE DISTRICT COURT
                                    §
V.                                  §                                  HARRIS COUNTY, TEXAS
                                    §
ESA P PORTFOLIO, LLC d/b/a          §
EXTENDED STAY AMERICA               §
HOUSTON and EXTENDED STAY           §
AMERICA, INC.                       §                                      80TH DISTRICT COURT



                          DEFENDANT, ESA P PORTFOLIO, LLC’S
                   ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, ESA P PORTFOLIO, LLC, Defendant, in the above-entitled and

numbered cause and files this its Original Answer to Plaintiff’s Original Petition and would

respectfully show unto the Court the following:

                                                   I.

         Defendant asserts a general denial as is authorized by Rule 92 of the TEXAS RULES OF CIVIL

PROCEDURE, and Defendant requests that Plaintiff be required to prove her charges and allegations

against Defendant by a preponderance of the evidence as is required by the Constitution and law of

the State of Texas.

                                                   II.

         Defendant respectfully reserves the right to amend this Answer to Plaintiff’s allegations after

it has had an opportunity to more closely investigate the claims, as is its right and privilege under the

TEXAS RULES OF CIVIL PROCEDURE and the laws of the State of Texas.




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                                                      III.

         Pursuant to Rule 193.7 of the TEXAS RULES OF CIVIL PROCEDURE, Plaintiff and her counsel

are placed on notice that any and all documents produced by or on behalf of the Plaintiff may be

used at pretrial hearings and trial.

                                                      IV.

                                       DISCOVERY CONTROL PLAN

         Discovery in this case should be conducted under Level 3, TEXAS RULES                OF   CIVIL

PROCEDURE 190.4 et seq. and defense counsel hereby requests the deposition of Plaintiff at a

reasonable time following the exchange of preliminary written discovery, and the procurement by

Defendant of all pertinent medical records.

         WHEREFORE, PREMISES CONSIDERED, Defendant, ESA P PORTFOLIO, LLC, prays

that Plaintiff take nothing by reason of her suit and for costs and for such other and further relief to

which she may show herself justly entitled to receive.

                                                   Respectfully submitted,

                                                   LEWIS BRISBOIS BISGAARD & SMITH, LLP

                                                   /s/ Matthew R. Begley
                                                   MATTHEW R. BEGLEY
                                                   Texas Bar No. 24076265
                                                   Matthew.Begley@lewisbrisbois.com
                                                   24 Greenway Plaza, Suite 1400
                                                   Houston, Texas 77046
                                                   (713) 659-6767—Telephone
                                                   (713) 759-6830—Facsimile

                                                   ATTORNEY FOR DEFENDANT,
                                                   ESA P PORTFOLIO, LLC




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Defendant, ESA P Portfolio, LLC’s Original Answer to Plaintiff’s Original Petition
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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served on all
counsel of record pursuant to the TEXAS RULES OF CIVIL PROCEDURE via e-mail, facsimile
transmission, certified mail, regular mail, or hand delivery on this the 15TH day of November 2021:

         Bob Wynne                                                    Via E-Mail: service@wynnepoupore.com
         Jourdain Poupore
         WYNNE & POUPORE LLP
         3233 W. Dallas Street, Suite 313
         Houston, TX 77019


                                                   /s/ Matthew R. Begley
                                                   MATTHEW R. BEGLEY




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Defendant, ESA P Portfolio, LLC’s Original Answer to Plaintiff’s Original Petition
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Emily Thompson on behalf of Matt Begley
Bar No. 24076265
emily.thompson@lewisbrisbois.com
Envelope ID: 59177199
Status as of 11/15/2021 4:22 PM CST

Case Contacts

Name               BarNumber   Email                              TimestampSubmitted      Status

Bob Wynne                      service@justwynnelaw.com           11/15/2021 4:16:28 PM   SENT

Matthew Begley                 Matthew.Begley@lewisbrisbois.com   11/15/2021 4:16:28 PM   SENT

Emily F.Thompson               Emily.Thompson@lewisbrisbois.com 11/15/2021 4:16:28 PM     SENT




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